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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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ANNE MARIE GRECO and IAN SUTHERLAND,                                     AMENDED
                                            Plaintiffs,                  SCHEDULING ORDER

                 -against-                                               Case #: 2:22-CV-03992-JMA-SIL

HUNTINGTON HOSPITAL and NORTHWELL
HEALTH, INC.;

                                             Defendants.
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        The parties having submitted to the Court an Amended Scheduling Order seeking an

extension of the deadlines set forth in the March 30, 2023 Scheduling Order, and with this Order

superseding all prior Scheduling Orders, it is hereby

        ORDERED, that responses to first interrogatories and document demands shall be served

on or before August 7, 2023; and it is further

        ORDERED, that motions to join new parties or amend the pleadings are to be commenced

on or before September 7, 2023; and it is further

        ORDERED, that all depositions are to be completed on or before October 9, 2023; and it

is further

        ORDERED, that identification of case-in-chief experts and service of Rule 26 disclosures

are to be completed on or before December 11, 2023; and it is further

        ORDERED, that rebuttal experts and service of Rule 26 disclosures are to be completed

on or before January 11, 2024; and it is further

        ORDERED, that expert depositions are to be completed on or before February 15, 2024;

and it is further
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       ORDERED that summary judgment motion practice is to be commenced on or before

March 28, 2024.



Dated: July __11th__, 2023

SO ORDERED:

/s/ Steven I. Locke___________________
STEVEN I. LOCKE
United States Magistrate Judge
